                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE MIDDLE DISTRICT OF TENNESSEE
                                          NASHVILLE DIVISION


THE COCA-COLA COMPANY,

                   Plaintiff,
                                                    Case No. 3:08-CV-0745
v.
                                                    Chief Judge Campbell
THE O-COMPANY N.V.,                                 Magistrate Judge Griffin

                   Defendant.

THE O-COMPANY N.V., a Netherlands
corporation,

                   Counterclaimant,

v.

THE COCA-COLA COMPANY, a
Delaware corporation,

                   Counterclaim-Defendant.

                         PLAINTIFF THE COCA-COLA COMPANY’S
                    MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL


        Plaintiff The Coca-Cola Company (“TCCC”), by and through counsel, and pursuant to the

Court’s Administrative Practices and Procedures for Electronic Filing, respectfully moves this Court

for an Order granting leave to file under seal TCCC’s Motion to Compel Production of Documents and

Responses to Requests for Admission and supporting Declaration of Robert N. Phillips and attached

exhibits. As set out in the Practices and Procedures for Electronic Filing, the proposed sealed motion,

declaration, and exhibits are being filed with the Court immediately after the filing of this Motion.

        WHEREFORE, TCCC respectfully requests that the Court enter an Order permitting it to file

under seal its Motion to Compel Production of Documents and Responses to Requests for Admission

and supporting Declaration of Robert N. Phillips and attached exhibits.




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Dated: April 15, 2009
                                        /s/ Robert N. Phillips
                                        Robert N. Phillips
                                        (pro hac vice motion granted)
                                        Seth B. Herring
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                                      CERTIFICATE OF SERVICE

        I hereby certify that on April 15, 2009, a true and correct copy of the foregoing was filed
electronically by the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent by
operation of the Court’s electronic filing system to all parties indicated on the electronic filing receipt.
Parties may access this filing through the Court’s electronic filing system.


                                                /s/ Robert N. Phillips
                                                Robert N. Phillips




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